Case 1:20-mj-03562-LMR Document 1 Entered on FLSD Docket 09/11/2020 Page 1 of 20


                            UNITED STATES DISTRICT COUR T
                            SOUTH ERN D ISTRICT OF R ORD A

                         CASE NO    .
                                         l:20-mj-03562-Reid


  IN TH E M ATTER OF A
  SEM ED C OO LM NT



                                  CNM     NAL COVER SH EET

     Did thism atterohginatefrom am atterpending in theNorthem Region ofthe United States
     Attorney'sW ficepriortoAugust9,2013(M ag.JudgeAlicia0.Va11e)?                Yes X No
  2. D id this m atter ohginate from a m atter pending in the CentalR egion of the U nited States
     Attomey'sOfficepriortoAugust8.2014 (M ag.JudgeShaniekM .M aynardl'?- Yes K No
  3. D id this m atter originate from a m atter pending in the CentalR egion of the U nited States
     Atlorney'sW ficephortoAugust8,2019(M ag.JudgeJaredM .Strauss)? - Yes X No

                                               R espectfully subm itted,

                                               A RIAN A FA JA RD O O RSH AN
                                               U NITED STATE S A W ORN EY


                                        B Y:
                                                *            t/
                                               JON A TV AN K OBR D TSK I
                                               A ssistantUnited States Attom ey
                                               C oul & .N o A 5501893
                                               99I.
                                                  1E41 Steet'W Floor
                                               M iam i,FL 33132
                                               Telephone:(305)961-9074
                                               E-M ai1:JonathanxKobrinski@ usdoi.cov
Case 1:20-mj-03562-LMR Document 1 Entered on FLSD Docket 09/11/2020 Page 2 of 20


 A()91(Rev.08/09) CriminalComplaint

                                  U NITED STATES D ISTRICT C OURT
                                                          forthe
                                                Southem DistrictofFlorida

                United StatesofAmerica
                             V.
                                                                   casexo. 1:20-mj-03562-Reid
            JONATHAN GUERRA BLANCO
              a/k/a''
                    ABUZAHRAAL-ANDAYSI,''


        CRIM INAL COM PLAINT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC M EANS

          1,thecomplainantin thiscase,statethatthefollowing istrueto thebestofmy knowledge and belief.
 Onoraboutthedatets)of          Julyzolg-september2020      inthecountyof                         Miami-Dade            inthe
     southern        Distictof Florida. andel
                                            sewhere ,thedefendantts)violated:
         CodeSection                                              OfenseDescription
  18U.S.C.j23398                             Attemptedmaterialsupportandresoumesto adesignated foreign
                                             terroristorganization,nam ely theIslam ic State oflraq and al-sham
                                             CtlSIS'')




         Thiscriminalcomplaintisbased on thesefacts:
 SEE AU ACHED AFFIDAVIT.



         W Continuedontheattachedsheet.


                                                                                          C mplainant'
                                                                                                     s ignature

                                                                                  Bry-gn H. HuohesuK l
                                                                                                     -specialAqent
                                                                                           Printed nameand title

  Attestedtoby theApplicantin accordancewith therequirementsofFed.R.Crim .P.4.1by FaceTime
                                                                         )w.                         ...
                                                                                                              .    .)
 Date: Septem ber10,2020
                                                                                            Judge'
                                                                                                 ssi
                                                                                                   gnature

 City and state:                      Miami,Florida      -   -.    -   -   - .   A(s##..
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                                                                                                   ..usz-Mpqi
                                                                                                            strateJudge     -
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Case 1:20-mj-03562-LMR Document 1 Entered on FLSD Docket 09/11/2020 Page 3 of 20




   U N ITED STATES DISTRICT COU RT                     U N DER SEA L
   SOU TH ERN D ISTRICT O F FLO RIDA
                                                       CaseNo. 1:20-mj-03562-Reid

                   A FFIDAV IT IN SU PPO RT O F C R IM INA L CO M PLA IN T


         1,Bryan H .Hughes,being duly swom ,stateasfollows:

                Iam aSpeeialAgentwiththeFederalBureau oflnvestigation C:FBI''),and have
  been so em ployed sinee 2015. 1am currently assir ed to the FB I's Joint Terrorism Task Foree.

  A spartofm y duties as a SpecialAgent,linvestigate crim inalviolations related to International

  Terrorism , including the provision and attem pted provision of m aterial supportor resources to

  terrorists and foreign terroristorganizations,in violation of Title 18,United States Code,Section

  23398. During m y tim e as a SpecialA gent,Ihave conducted num erous investigations often-orist

  use ofthe intem et,socialm edia,and otherencrypted com m unication platfonns to furthercrim inal

  activity. A s a result of m y experience in such investigations, I am fam iliar w ith the tactics,

  m ethods, and techniques of terrorist organizations and their m em bers, including the use of

  com puters, cellular telephones, and other fonns of electronic com m unication to further their

  crim inalactivity.

         2.     This am davit is subm itted in support of a crim inal com plaint alleging that

  JONATHAN GUERRA BLANCO,a/k/aIIABU ZAHRAAL-ANDALUSI''(thedefendantwillbe
  referred to herein as ttGUERRA''),attempted to provide materialsupportand resourcesto a
  desir atedforeignterroristorganization,namelythelslamic StateofIraq and al-sham (çç1SlS''),
  in violation ofTitle l8,U nited States Code,Section 23398.

                According to U .S.D epartm entofState and State ofFlorida records,G U ERRA is a

  Cuban bonztw enty-threeyearo1d naturalized U .S.citizen residing in Lehigh A cres,Florida,which

                                                  1
Case 1:20-mj-03562-LMR Document 1 Entered on FLSD Docket 09/11/2020 Page 4 of 20



  is located within the M iddle District of Florida. Through 1aw enforcernent surveillance and

  eommunicationswith FB1OnlineCovertEmployeesC&OCE''s),asdescribed morefullybelow,
  GU ER RA has been confinued to be residing atan address know n to 1aw enforcem ent in Lehigh

  A cres,Florida.

         4.      Because this afridavit is being subm itted for the lim ited purpose of establishing

  probable cause in supportofacrim inalcomplaintcharging GU ERRA with attem ptingto provide

  m aterial support and resources to a foreir terrorist organization,I have not included al1 facts

  know n to m e eoncem ing this investigation. Ihave setforth only the fad s necessary to establish

  probable cause to believe thatGU ERR A com m itted the charged oFense.

         5.      '
                 lhe facts set forth in this affidavit are based on m y ow n personal know ledge,

  training,experience, alzd through review of com m unications betw een G UERRA and three FB1

  OCES(OCEI,OCE2,andOCE3)andanFB1ConfidentialHumanSource(ççCHS''),tinancialand
  subscriber records, infonnation provided to m e by other 1aw enforcem ent entities, as w ell as

  through review ofpublicly available infonnation.

         6.      The sum m aries of conversations betw een G U ERRA ,the FBI CH S,and the FBI

  OCES do not include al1statem ents m ade during the course ofeach online conversation. Rather,

  the conversation sum m ariesare provided forcontex'
                                                    t,based on m y know ledgeofthe investigation

  as a w hole,as w ellas m y training and experience. A l1com m unications betw een GU ERR A and

  the FBICH S,and the FBIO CES have been preserved. W here the contents of docum ents and the

  actions,statem ents,and conversationsofothers are reported herein,they are reported in substance

  and in part,unless othenvise indicated.

                                            A pplicable Law

         7. Title18USC j23398.ProvidingM aterialSupportorResourcesto
 D esignated Foreign Terrorist O rganizations

                                                  2
Case 1:20-mj-03562-LMR Document 1 Entered on FLSD Docket 09/11/2020 Page 5 of 20




         (a)Prohibitedactivities.--
         (1)Unlawfulconduct.--W hoeverknowingly providesmaterialsupportorresourcesto a
         foreign terrorist organization,orattem pts or conspires to do so,shallbe fined under this
         title or im prisoned notm orethan 20 years,or both,and,ifthe death of any person results,
         shallbe im prisoned forany tenn ofyears orforlife.To violate thisparagraph, a person
         m usthaveknowledgethatthe organization is a designated terroristorganization . . . thatthe
         organization hasengaged orengagesin terrorism ...orthattheorganization hasengaged
         or engages in terrorism ...

                                        Backaround on ISIS

         8. OnoraboutOctober15,2004,theU.S.SecretaryofStatedesignatedalQaedainlraq
  (ç:AQl'')thenknownasJam 'atalTawhidwa'al-lihad,asaForeignTerroristOrganization(ç:FTO'')
  under Section 219 ofthe Immivation and Nationality Act (the $çINA'') and as a Specially
  Designated GlobalTerroristundersection 1(b)ofExecutiveOrder13224. On oraboutMay 15,
  2014,the Secretary ofStateamendedthe designation ofAQ1asan FTO underSection 219 ofthe
  INA andasaSpeciallyDesir atedGlobalTerroristentityundersection 1(b)ofExecutiveOrder
  13224to add thealiaslslamic StateofIraq and theLevantCç1SIL'')asitsprimaryname. The
  Secretary also added the follow ing aliasesto the FTO listing:the Islam ic State of Iraq and al-sham

  (i.e.,ççlsls''- whichishow theFTO willbereferencedherein),thelslamicStateofIraqandSyria,
  ad-Daw la al-lslam iyya fi al-llraq w a-sh-sham , D aesh, Daw la al lslam iya, and A l-Furqan

  Establishm entforM edia Production. On Septem ber2 1,2015,the Secretary added the follow ing

  aliasesto the FTO listing:lslam ic State,ISIL,and ISIS. To date,ISIS rem ains a designated FTO .

         9. Based on m y training and experience, I am aw are that ISIS historically has had

  num erous om cialm edia com ponents,such as AlH ayat M edia Center,Am aq N ew s A gency,and

  A l-Furqan Foundation for M edia Production. 'Ihese, and am liated outlets,have functioned as

  ISIS'm edia apparatusto produce and dissem inate audiovisualsand m aphicsw ith high production




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Case 1:20-mj-03562-LMR Document 1 Entered on FLSD Docket 09/11/2020 Page 6 of 20



  valuew hich glorify and prom oteviolence on behalfofISIS.Based on m y training and experience,

  Iam aw are that ISIS uses itsrespective m edia com ponentsto,am ong otherthings:

     a) Recruitmujahedeen fightersandotherpersonnelincludingdoctors,nurses,engineers,and
         otherroles and professions'
                                   ,

     b) Solicitdonationsandotherfinancialsupport;
     c) CallforattacksintheWestandagainstothergovernmentsandcivilianpopulationsdeemed
         enem iesofISIS;

     d) Intimidate govemments,private entities,and civilians thatdo not share ISIS'
                                                                                  S violent

         jihadistphilosophy'
                           ,and
     e) Claim responsibilityforterroristattacks.
         10. Based on m y training and experience,1am also aw are that ISIS m em bers have used

  socialm edia applications,video-sharing sites,blogsand otherintem et-based sitesand applications

  to distribute their om cialcom m unications inexpensively,safely,and broadly. ln addition, Iam

  aw are that ISIS and otherforeign terrorist organizations use these online tools to com m unicate

  (publiclyandprivately)withsympathizersandpotentialrecruits,andtodistributetheirrespective
  m essagesto legitim ate m edia outlets,in orderto draw attention to the organizations,recruit new

  members,raisemoney,andpromoteviolentjihad,a1linaneflbl'tto can'youttheterrorism-related
  goals of the organizations. ISIS has increasingly trended tow ards reliance on com m unication

  platfonnsthatfeature end-to-end encryption,w hich ensurethatonly the senderand recipientofa

  m essage have the ability to view the contentofcom m unications. Encrypted applications such as

  SocialMedia Platfonu 1 CçSM P1''),Social Media Platfonu 2 (tçSM P2''),and SocialMedia
  Platfonn 3 (tçSM P3'') allow ISIS mem bers to avoid detection when spreading propagandw
  recruiting others,and com m unicating attack planning infonuation.


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Case 1:20-mj-03562-LMR Document 1 Entered on FLSD Docket 09/11/2020 Page 7 of 20



         11. ln August2015,A1Him mah Libraly an om cialm edia operation forISIS accordingto

  opensourceinfonnation,publishedadocumentonlinetitled,ttàrou areaM ujahid,O M ediaMan,''
  aboutthe im portance ofISIS propaganda. ln the publication,ISIS proclailned,tûthe m edia has far-

  fetched im pact in changing balances of battles w aged . . . because the lnedia publishes or

  dissem inates the victories ofM uslim s againsttheir enem ies,shows supportforthem ,and their

  heroism in addition to bestow ing praise on them . '
                                                     lhese issues are bound to invigorate the

  mujahidinl.l''
         12. ln this sam e publication,ISIS further proclaim ed thatthe çtlihadim edia''is ttno less

  im portantthan engaging in battle,''and argued that itçtis necessary to attain m edia victory to go

  along gwith)theescalating militaryvictory'' '
                                              Thepublication equatedthe importance ofISIS's
  m ilitary victory and victory in the ççpropaganda w arthatthe Cm saderU S and its allies are w aging

  againsttheIslamicState,''arguingthatççthalfthebattle)isamediabattle''andtithepowerofwords
  issharper(stronger)than atomicbombs.'''Ihepublication repeatedly equatedthework ofISIS
  propagandiststoISIS soldierswagingviolentjihad:çllncitingjihadisequalto (waging)jihad He
  who incites(people)isamujahid inthecauseofAllahAlmighty. Hewillearnthesamewages
  likethebrotherwhogoesintojihadl.l''Towardstheend,thepublicationagain declared,ûûSo,my
  dearunknown mediasoldier,know how valuableyourroleisin attainingvictoly ...(Ylou area
  mujahidforthecauseofA11ah(.1''
          13. Due to ISIS'S territorialand key personnel losses, om cial ISIS m edia publications

  havew aned andthe organization hasbecom e m ore relianton itsw orldw idesupporters.As aresult,

  unom cialISIS m edia netw orkshave em erged,and function asa decelztralized netw orkto increase

  the dissem ination ofpro-lsls m essages and propaganda. Since 2019,groups such as ISIS M edia

  Network 1(1tlMN1'')andISIS M ediaNetwork 2 (t:lMN2'')havefulfilledthisrole,operating on


                                                   5
Case 1:20-mj-03562-LMR Document 1 Entered on FLSD Docket 09/11/2020 Page 8 of 20



  SM P1 and other encrypted platforms to produce and spread ISIS videos,instructionalguides,

  p aphics, and related media which incite and equip prim arily Spanish-speaking followers to

  conduct operational attaclcs in support of ISIS. W hile IM N I and 1M N 2 focus on producing

  Spanish-translated ISIS m edia,they also coordinate translations into various other languages,

  including English,D utch,French,G erm an,and lndonesian.

                                         lnvestiaative Snm m aa

               Since October 20 19,the FBIhas been investigating G U ERRA forhis leadership role

  in directing and coordinating unom cial ISIS m edia netw orks online. G U ERRA w as initially

  identitied during an FBI investigation of mz ISIS operative - known to 1aw enforcem ent and

  referred to herein as çr onfederate A ''- w ho w as w orking for GU ERR A in supportof IM N I and

  lM N 2. Based on FBlO CE interactions w ith G U ERR A,G U ERRA holds him selfoutms the head

  of IM N I,an unom cialISIS m edia outletthatcreates and dissem inates violent ISIS propaganda

  and instnzctionalm aterial,typically translated into various languages. IM N 1 operates entirely on

  encrypted platform s - principally SM PI1 - but its graphics and threatening videos are w idely

  reported by Spanish new s and other open source new s outlets. '
                                                                 Ihrough O CE interactions w ith

  G UERRA , detailed below , G U ERRA recruits other online ISIS sym pathizers w ith foreign

  language abilities,and directs their translation of ISIS propaganda and instructionalcontentfor

  incom oration into IM N I publications.

          l5. lnvestigation has show n that G U ERRA has substantial know ledge of advanced

  techniquesand m ethodsto m aintain anonym ity online. G U ERRA consistently usesvirtualprivate




  1Certain attributesofan SM PIaccountcan bemodifiedby thetuser,such asdisplay rl
                                                                                ame and username,however
  theunique accountidentification number(tiUID'')cannotbe changed, Asdiscussed below,1aw enforcementhas
  identified UIDSused by GUERRA.FortheUIDSthatarelisted below,thefullnumberisknown,butonly the last3
  digits are specified herein. In addition,forthe UlDS below,GUERRA utilized multiple aliases,including 'GABU
  ZAHR AA L.AN DALU SI''
                                                      6
Case 1:20-mj-03562-LMR Document 1 Entered on FLSD Docket 09/11/2020 Page 9 of 20



  networks(;$VPN''s2)and accessesintem etservicesthrough TOR3in orderto obfuscatehistnze
  location and otherpersonally identifying information. GU ERRA also instructs m em bers of his

  ISIS netw ork in these practices. ln orderto avoid detection by law enforeem ent or intelligence

  services,GU ERRA utilizes num erous com m unication accounts on SM PI and sim ilar platfonns,

  creating new accounts and discarding o1d accounts on a routine basis. Once GU ERR A identifies

  and recruits an ISIS sympathizer with foreir language ability on SM PI, GU ER RA often

  maintains communication w ith thatuserby creating new accounts forprivate discussion, or by

  requesting the user create additionalaccountsto share w ith GU ER RA         .




          16. During the course of investigation, O CE 1,O CE2, and O CE3 have portrayed ISIS

  sym pathizersw ith foreir language abilities.; Itw asonthisbasisthatG u ERltA ççrecruited''O CES

  to help translate and dissem inate ISIS m ediaforIM N 1.5 CH S also portrayed an ISIS sym pathizer,

  but w ithout foreign language ability. Both O CE3 and the CH S w ere initially identified and

  contacted by G U ERR A in pro-lsls SM PI groups, and w ere then pursued rom antically by

  G U ERRA . Both OC EI and O CE3 are located in,and have com m unicated w ith G U ERRA from

  M iam i,Florida.

                GU ERRA 'S identity w as ultim ately confinued through his com m unications w ith

  O CE3, in which G UERRA indicated his leadership role in IM N I and provided his true nam e,

  num erous true photop aphs ofhim self,asw ellasotherpersonally identifying infonnation.


  2A VPN isatoolthatmay beusedby an internetuserforsecurity andprivacypurposes. A VPN canmask orhidethe
  user's IP address and physical location. A VPN may thwartattemptsby search engines,advertisers,web sites
  themselves,intemetserviceproviders,andevengovernmententitiestoobtainuser'sweb browsing datz.
  3TheOnion Router, orGTOR''asmostcommonly lmown,issoftwarethatdirectsauser'sintem ettrafficthrough a
  seriesofTOR network relayswhich apply multiplelayersofencryption. UseofTOR isan effectivemeanstoaccess
  theinternetanonymously,byconcealing one'strue location.
  4 U pon G'UElklkzu s questioning of OCE2's affiliation to ISIS, OCE2 indicated that OCE2 demorlstrates their
  allegianceto ISIS every tim e OCE2 translatesan ISIS video. W hen asked the same question in returq GUERRA
  klrgedOCE2totrusthim,andstatedhecouldnot'texpressthingswhich areclearly ûcrime'gsicjwhereIam.''
  5Forexample, inaconvermtionwi thOCE2onorabout18April2020,GUERRAstated''lwlithoutustheISglslamic
  Statejintheonlineworldisdead.''
                                                      7
Case 1:20-mj-03562-LMR Document 1 Entered on FLSD Docket 09/11/2020 Page 10 of 20



          18. GU ERRA 'S num erous com m unication accotm ts w ere correlated through O CE and

   CHS interactions w ith GU ERRA , travel records, telephone records, and financial records.

   lnvestigation has show n that GU ERRA w as the user of the below described accounts on tw o

   platfonus,specifically SM PI and SM PZ. GU ERR A USed the sam e SM PI accountto com m unicate

   w ith O CEI,OCE2,and CH S.Duringthesam etim eperiod,and usingthesam e account,GU ERRA

   provided histelephone num berto the CH S. This sam etelephone num berw as identified ashaving

   called atelephone num berregistered to GU ERR A 'Srelative on m ultipleoccasionsin 2019. W hile

   stillusing the sam e account,GU ERRA tOId O CE Ithathe w ould notbeposting online fora w eek

   in O ctober 2019. Travelrecords confinu thatG U ERRA and fam ily m em berstraveled to M exico

   during the sam e tilne fram e as given to O CE 1. In later com m unications w ith OC E3 in July 2020,

   w hile using a diflkrent SM P2 account,G UERRA stated he traveled to M exico tçless than a year

   ago.
          19. During the sam e period of tim e in which G U ERRA revealed his true personal

   identifiersto O CE3,having m ade firstcontactw ith OC E3 on SM P I,G U ER RA utilized the sam e

   SM P 1 accountto requestthatOC E2 translate a violentISIS propaganda video for IM N I.

                                     Com m unication w ith O CE I

          20. O CE I w as first contacted by G U ERRA via SM PI on or about 11 October 2019;

   GUERRA utilized an SM PIaccount(UID ending in -565).Atthattime,OCEIwasalready in
   com m unication w ith Confederate A ,w ho w as a foreir -based ISIS operative involved in the

   direction of IM N I and 1M N 2. Priorto the initialinteraction w ith GU ERRA,Confederate A told

   O CE 1thatOC EIw ould be contacted by ttatrusted brother,''who w ould usethe code nam e ttstefan

   Sm art.'' Contkderate A also instructed O CEIto m ake m ultiple SM PIchannels in w hich to archive

   IM N I and 1M N 2 content,to preventtheir loss. Confederate A then instructed O CEI to help w ith


                                                    8
Case 1:20-mj-03562-LMR Document 1 Entered on FLSD Docket 09/11/2020 Page 11 of 20



   anythingthatGUERRA asked ofOCEI. ConfederateA also expressed hisbeliefthathe would

   soon bearrested by intelligenceauthoritiesin the country wherehewaslocated      .




             21. In GUERRA'Sfirstmessageto OCEIutilizing an SMPIaccount(UID ending in -
   565),GU ERRA introduced himselfas ttstefan Sm art.'' On or about 13 O ctober 2019,GU ERR A

   stated he created and adm inistered the IM N 2 SM PI channelsince 2018, and thathe w asinvolved

   in the editing ofûtnew ofricialvideos.'' GU ERRA also claim ed to bethe adm inistratorforIM N I,

   which he w asthen w orking to reinvigorate. O n orabout 15 O dober2019, GU ERRA sentOC EI

   the link to a new s article aboutthe arreston 5 October2019 of an IM N l-afriliated ISIS supporter

   in Spain. GU ERR A then sent O CEI a link to atz IM N I graphic titled tçlam as N os Capturarasp''

   w hich translates to çGYou W illN everCapture U s.'''
                                                       lhe FBIisaw arethatthe IM N l-affiliated ISIS

   supporterreferenced by GU ERRA w asone ofthe operatorsofIM N Ipriorto his arrestby Spanish

   authorities and assesses thatGUERRA'S m essage to OCEI thatççYou W illNever Capture Us''

   refersto the factthatGU ERRA him selfw asfree and operating IM N I.

            22. O n or about 16 N ovem ber 2019,GU ER RA told O CE Ithat he w ould notbe posting

   fora w eek because he had personalm atters to tend to,butthathe w ould be very active upon his

   retum . O n or about25 N ovem ber2019,Gu ElkllA m essaged O CEI and advised thathe w asback

   online,and also forwarded an invitation link to an IM N 2 SM PI channel. Travelrecords indicate

   thatGU ERRA and m ultiple fam ily m em bers traveled to C ancun,M exico from approxim ately 17

   -   24 N ovem ber 2019. Additionally,on 22 July 2020,GU ER RA tOId OCE3 thathe and his fam ily

   w enton vacation to M exico ûçlessthan a yearago.''

            23. In early N ovem ber2019,IM N I produced and widely released a video on SM PI which

   threatened terrorist attacks against Spanish N ational Police and subw ay infrastrudure targets in

   Spain. The video featured a m asked individualwho stated that ISIS cells w ithin Spain rem ain


                                                   9
Case 1:20-mj-03562-LMR Document 1 Entered on FLSD Docket 09/11/2020 Page 12 of 20



   intactdespite recentarrests,which was areferenceto the Spanish N ationalPolice'sarrestofthe

   IM N l-affiliated ISIS operative on 5 October2019.Thevideo waswidely reported in Spain, and

   prom pted terrorism related investigative activity by both Spanish N ational Police and G uardia

   Civil.

                On or about 19 N ovem ber 2019,Confederate A sent O CEI m ultiple photographs of

   him selfw earing a black m ask and dark sunglasses, and indicatedthatthem ask and glasseswere

   foravideo. ConfederateA also asked OCEI whatthe ltkufl-ar''6thoughtabouthisthreat. Upon

   review ofthe photographs sent to OCE 1,it was determ ined that Confederate A w as in factthe

   m asked individualthatappeared in the IM N Ivideo threatening Spain.

            25. On or about 4 Decem ber 2019,O CEI m ade contactw ith G U ERRA,w ho w as then

   utilizing an SM P2 account that referenced IM N I. After confinning one another's identity,

   GU ER RA and O CEI discussed concerns about Confederate A 's lack of online presence.

   GU ER RA sunuised that C onfederate A had been captured by intelligence services. GU ER RA

   advised OCE Ito use extrem e caution w ith any future com m unications w ith ConfederateA ,until

   GU ER RA could verify C onfederate A 's identity. GU ERRA asserted thathe knew Confederate A

   very w ell,and to tçknow m ore things abouthim than anyone else here.'' GU ERRA aISO sentO CEI

   an invitation link to a private SM P2 p'oup called tçw ecirayi.''

            26. On orabout 5 Deccm ber2019,O CEI observed thatGu ER lkA posted a graphic to the

   wecirayigrouptitled&tpreview from (lMN l)-ALANDALUZIAISPAINI.''Rhegraphicfeatured
   oneimageoftwoalxnedjihadists. On orabout7December2019,approximatelytwodaysafter
   GU ERRA posted the preview graphic, IM N 1 widely released another video w hich again

   threatened terrorist attacks in Spain and urged supporters to take up arm s for ISIS. 'lhe video



   6Basedonmytraining,çûkuffar''isaderogatoryArabicterm fornon-believersoflslam,
                                                    10
Case 1:20-mj-03562-LMR Document 1 Entered on FLSD Docket 09/11/2020 Page 13 of 20




   featuredfootageofannedjihadistsonpatrolandincludedotherimagesoffireanusand Spanish
   N ationalPolice vehicles. Based on review of the video footage,ithas been determ ined thatthe

   im agery from the preview graphic and thatw hich appeared in the finalproduced video are the

   Sam e.

            27. On or about 8 February 2020,the IM N I netw ork produced and dissem inated a pro-

   ISIS video titled tûcalled to lslam .'' The video featured a Spanish-language narrative threatening

   non-believersto convertto Islam . The video featured footage ofthe Biltm ore Hotelin M iam ias

   w ellas the Las Vegas Strip,along w ith video clips of a suicide bom ber's farew elladdress and

   gruesom e im ages from an ISIS prisoner execution.

            28. Analysis revealed that the videos produced and released by G U ER RA, and other

   confederates,contain a background com pilation ofstock video clips available online forpurchase

   and download from diflkrent providers. Banking records indicate that G U ERRA purchased7 an

   annual subscription to a digital stock m edia provider located overseas,on or about 2 1 O ctober

   2019,priorto the release ofthe IM N I videos m entioned above. 'Ihe stock m edia provideroflkrs

   an array of proprietary digital video footage, anim ations, m usic and other digital m edia for

   purchase and dow nload from theirw ebsite.8 An open source review oftheprovider'sstock footage

   o/erings confinued thatthe stock footage used in G U ERRA 'S IM N I videos w ere sourced from

   this provider. '
                  lhis w as also confirm ed through reverse im age searches,a process to detennine

   w hether digitalim ages are sourced from other contenthistorically or presently available on the

   intem et.




   7Thesubscription waspurchased using acredittmion accountto which GUERRA isa beneficiary. Theaccokmtis
   held inthenam eofoneofGU ERR A'Srelatives.
   8Users ofthe stock media providerwebsitecan quely forhighly specific originaldigitalvideo clipsto purchase,
   download,and ostensibly incorporateinto largervideoproductions.
Case 1:20-mj-03562-LMR Document 1 Entered on FLSD Docket 09/11/2020 Page 14 of 20



           29. In early February 2020,IM N I produced and released an instructionalguide titled

   ttElabora una bom ba en la cocina de tu M am â,'' a translation of ttl-low to M ake a Bom b in the

   KitchenofYourM omr''whichwaspreviouslypublishedintheAl-oaedaintheArabianPeninsula
   (AQAP)lnspireM agazinearound2010.Thedocument'sfirstpagefeatured apartially obscured
   personholdingapressurecooker,with thetitletCIIMNIIOpenSourceJihad.''g Containedwithin
   thedocum entwere detailed instructionson how to create an improvised explosive device (IED),
   w hieh w ere translated from English into Spanish. 'Ihe instrud ionalguide w as w idely distributed

   w ithin pro-lsls SM PIgroups and ultim ately reported on by publie new s outletsin February 2020.

           30. On orabout2 M arch 2020,G U ERRA continued com m unicationsw ith O CEI, having

   transitioned from previously identified SM PI accounts to SM P3.10 G U ERR A then utilized an

   aceountfrom SM P3 and requested thatO CE Ihelp translate an instnzctionalguideon how to build

   a çtm ailbm b.''11 G LJERR A tIwn asked O CEI to locate 1he source m aterialfortranslation, noting

   ttgslearchforgllnspiregM lagazineOpen (SlourceJihad ...(dloitwithoutintenwteolmeetion (ilt's
   a sensitivetopic.'' On the sam eday,O CE 1had created an SM PI accountto share w ith GU ERRA ,

   atGUERRA 'S instruction. On orabout2 M arch 2020,an SM pl-generated notification sentto

   O CE Iindicated thatG U ERR A w aSaccessingtheshared accountfrom a devicethatw asidentified

   asan LGE V20. Based on m y training,experience,and the context Ibelievethisisan LG V20,

   w hich is a com m ercially available sm artphone.

           31.O n orabout3 M arch 2020,w hile in discussionsw ith OCEI regarding the coordination

   ofISISmediatranslations,GuERRA statedtçltlheotherArabicsandwichisalmostready ...(tlhey


   9çtopen Source Jihad,' 'from AQAP'SInspire magazine,isacollectiveofinstructionalguidesproclaimed to be
   ''Am erica's worstnightmare,''which encourage violentttlone wolf''att
                                                                       zcksagainsttheW est,and provide detailed
   instructionsonhow to makehomemadeweapons,explosives,andrelated devices.
   108N1173 isacommtmicationplatfonm which offersend-to-endencryption,asisoptimized foraccessthrough TOR
   andrecomm ended tobeusedwiththe5M P2mobile client.
   11Basedonthecontextofthe conversation,1know thatGUERRA intendedtheword tGbomb.''
Case 1:20-mj-03562-LMR Document 1 Entered on FLSD Docket 09/11/2020 Page 15 of 20




  willdeliveritto metomorrow ...gilthasto beprepared anotherway 1prefer.'' GUERRA also
  stated ççw hen the sandw ich has been m ade you can help m e season it.'' Based on m y experience

  and knowledge of the investigation, l know that by using the tenns tçsandw ich''and ttseason,''

  GUERRA wmsreferringto an Arabic-languageISIS video(thetçsandwich''),mzdthatGUERRA
  wouldrequestOCEI'Sassistanceinediting(ûtseason''lingj)thevideopriortoitspublication.
                                     C om m unication w ith O C E2

          32. As of January 2020,GU ERRA contacted OC E2 on SM PI and requested OCE2 help

  w ith translation of ISIS m edia for IM N I; GU ERRA had utilized the sam e SM PI account in

  previouscom m unications w ith OC EI and CH S. O n orabout30 January 2020,G U ERRA initiated

   a private chat w ith O CE2 utilizing a diflkrent account nam e,having transitioned from SM PI to

  the SM P2 application. On or about8 February 2020,G U ERRA sentO CE2 arlinvitation link to

   anSMPIgroup calledtt(1M N1J,''whichcontainedapproximatelysevenmembers.
          33. On orabout10 February 2020,Gu ERlkA posted to the IM N ISM PI group a docum ent

  titled ççopen Source Jihad 2 -glM N1J- La maspoderosa maquina de chapear- Consejospara
   nuestr@ sherman@ s ...,''which translates in salientpartto lt-
                                                                l-heUltimateM owing M achine.''
   The docum entprovided Spanish-translated encouragem entsand instructionson how to eFectively

   conduct a vehicle attack against pedestrian targets. W hile the English-language version of the

   docum entwaspreviously released in a2010publication ofAQAPSlnspire M agazine,GUERRA 'S
   lM N l-branded version featured originalcontentw hich included instructionsforthe use ofV PN S,

   m ulti-layered encryption applications,and other sophisticated tradecraft to avoid detection by

   authorities. On or about 11 February 2020,G U ERR A stated to O CE2 that he wasthe creator of

   the video çf alled to Islam ,''as described m orefully above.
Case 1:20-mj-03562-LMR Document 1 Entered on FLSD Docket 09/11/2020 Page 16 of 20



          34. On or about 20 M arch 2020,Gu ERR A requested thatO CE2 create an SM PIaccount

  thatG U ERRA and OC E2 could share. Atthis tim e,G U ERRA had transitioned to another SM P2

  account. GU ERRA instructed O CE2 to create the SM PI accountusing a telephone num ber for

  registration purposes, and then to send GU ERRA both the telephone num ber and an SM PI-

  generated Pm num ber.12 U pon GU ERRA 'S login to the shared SM PI account, O CE2 observed

  an SM pl-generated m essage indicating that GU ERR A had accessed the account again w ith an

  LG E V 20 device.
          35. on orabout 19 June 2020,o cE2l3w as contacted by GIJERRA , w ho w as using the

  sam e su pl accountas in Iater com m unicationsw ith oc E3.l4 G U ERRA stated thathe w asfrom

  IM NI,andrequestedthatOCE2join theIM NIteam oftranslators. W hen askedwhatIMNI's
   goalwas,GUERRA statedtçltol(mlakethewordofAllah high ...(tlhehighest.''Onorabout24
   June2020,GU ER RA sentO CE2 m ultiple instructionalgraphicsthatdetailed how to installaççfak.
                                                                                               e

   GPS''application on O CE2'scellularphone orotherdevice. The application purported to disguise

   a user's true location,and to enable a userto m ake their device appearto be located elsew here in

  the w orld. Based on m y training and experience,this and sim ilar applications are used by ISIS

   m em bers to obfuscate m etadata generated while using the internet,for the purpose of avoiding

   detection by 1aw enforcem entauthorities.

          36. On orabout25 June 2020,GU ERRA sentOC E2 an A rabic language ISIS video titled,

   as translated from A rabic, tçBattle of Attrition 3.'' The video featured p aphic depictions of

   beheadings, drive-by executions of civilians, and other p'uesom e ISIS executions of Kurdish




   12Based on my experience,Iknow thatSM PIallowstwo devicestobeloggedinto thesame SM PIaccount.After
   the account is logged into from one device,the otherdevice mustenteran accountverification Pm numberto
   authenticatethat170th usersareoneand the same.
   13OCE2utilized adifferentaccountandportrayed adifferentISISsympathizerwith foreign languageability.
   14Guerrautilized an SM PIaccountwith theUID ending in -471.
Case 1:20-mj-03562-LMR Document 1 Entered on FLSD Docket 09/11/2020 Page 17 of 20



   prisoners. GUERRA requested that OCE2 translate the video from Arabic to English, for

   incorporationintoanew video.GUERRA alsostatedtoOCE2ûûgilt'syourdutyr''andwhenasked
   aboutthis,clarified by stating ltjjihad (qisabilillah isFardAin.''15 On orabout28 June2020,
   GUERRA sentaphotographtoOCE2,andstatedthathewœsintheprocessofttgwlorkingonthe
   video subtitle,''a referenceto the SGBattle ofAtlrition 3''video. U pon review ofthe photop aph,

   G U ERRA 'S com puterm onitor can be seen displaying im agery from Battle ofAttrition 3, as w ell

   as a video editing applieation. GU ERR A sought, obtained, and ultim ately dissem inated the

   English-translated version ofççBattle ofAttrition 3''on SM P 1.

                                       C om m unication w ith O C E3

           37. On orabout 13 July 2020,O CE3 w ascontacted by GU ERRA ,w ho was utilizing an

   SM P l account w ith a U lD ending in -471. Both O CE3 and GU ERRA w ere m em bers in a pro-

   ISIS SM P 1 group. ln response to OC E3's posting,in which O CE3 stated an interestthat SW LL

   M uslim brothers unite againstthe enem ies of A11ah,''GU ERRA privately m essaged O CE3 and

   asked,nm ong other things, if O CE3 w ould like to help. GUERRA furtherstated çtl'm (IMNII

   A lham dulillah.''l6

           38. On or abotlt 17 July 2020,GU ERRA requested OCE3 continue com m unicating w ith

   G uEltltA viathe SM P2 application.17 Gu EltltA utilized an SM P2 accountand during the course

   ofdiscussionwithOCE3,GUERRA statedççlalwaysstrivetopleaseAllah,(I1don'twanttobrag,
   but(11dedicatemyentirelifetoJ...ad.''Inmytrainingandexperience,Iknow thatISISmembers
   intentionallymisspellorpartiallyspellwordsbelievedLocarrycriminalsir ificance,suchasjihad.
   Based on m y investigative experience,ISIS m em bers avoid the use of key tenns online,such as


   15Fisabilillah isanArabicexpression meaning t'inthecauseofAllah.''FardAin isan Arabicexpressionto describe
   areligiousduty.
   16Alhamdulillah isanArabicphrasemeaning ''praisebeto God.''
   17Based onmy experience,SM P2 isamessagingapplicationwhich offersend-to-end enclyption.
Case 1:20-mj-03562-LMR Document 1 Entered on FLSD Docket 09/11/2020 Page 18 of 20




  jihad,bomb,orattack,inordertoavoiddetectionbysocialmediaorintemetserviceprovidersthat
  m ay use algorithm s to search w ritten com m unications for such words that m ay violate the

  Provider'stennsofselw ice.

          39. In discussions w ith O CE3 on or about 17 July 2020,G U ERRA tOId O CE3 his nam e

  w as tçlonathan,''and that he lived w ith fam ily m em bers in Lehigh A cres, Florida. G U ERRA

  provided currentphotographs of him self and his daughter. Based on review of the photographs

  sent to O CE3,the photographs identify GU ER RA and m atch those observed through om cial

   govermnentID s,public records,and law enforcem entsurveillance. O fthe m ultiple photographs

   sent to O CE3,severalappear to be taken from w ithin a garage w here a red Suzukisportutility

  vehicle (:tSUV'') can be observed parked within the garage. According to current Florida
   Departm entofH ighw ay M otorVehicle and Safety records,a red SuzukiSU V is registered to one

   ofGU ER RA 'Srelativesl8 atan address know n to 1aw enforcem entin Lehigh Acres,Florida.

                                       Com m unication w ith C H S

          40. GU ERRA contacted the cH S via SM PI on or about 19 N ovem ber 2019,utilizing an

   SMPIaccountAbuzahraalAndalusi(UID endingin -565)19thesameaccountidentifiedbythe
   FB Ithrough G U ERR A 'S interactions w ith O CEI. GU ERRA stated to the C HS thathe w asthe

   adm inistratorofa ttbig channel,''and requested thatthe tw o resum e private discussions on SM PZ,

   in w hich G U ERRA utilized an SM P2 account. D uring interactionsw ith CH S,GU ER RA stated he

   lived in theUnited Statesand provided histelephonenumber. Businessrecords obtained by law

   enfbrcem ent show the telephone num ber G U ERRA provided belongs to a Verizon cellular

   telephone accountin the nam e of a relative ofG U ERRA .


   18ThefullidentitiesofrelativesofGIJERRA referred to in thisaffidavitareknown tolaw enforcement,andcan be
   providedto theCourtuponrequest.
   19In thisinstance,GUERRA modified b0th thedisplay name andusemame forhisSM PIaccount,howevertheUID
   remainedunchanged from previousOCE/CHSinteractionswith Gtl RlkA'saccount.
Case 1:20-mj-03562-LMR Document 1 Entered on FLSD Docket 09/11/2020 Page 19 of 20



                                           FinancialSupport

          41. During the course of investigation, the FBI obtained Confederate A 's personal

   identifiers and com munication accotlnts developed from online communications between

  Confederate A and O CE I,and from subscriber records for social m edia accounts know n to be

  utilized by Confederate A . Subscriberrecords indicate that Confederate A created a Coinbasezo

  cryptocurrency account on or about 29 July 2019. Betw een approxim ately 3 - 6 August 2019,

  ConfederateA received approxim ately $572 from a Coinbase accountregistered in the nam e of

  one of GU ERRA 'S relatives,w ith a provided registrant address in Lehigh Acres,Florida. U ser-

  generated notesofGthey buddy ''tçdone''and çsgot itp''follow ed each transaction,respectively.

         42. Coinbase records also indicate that the account registered to GU ERRA 'S relative

  received funds from a credit union account.zl Records from the credit union further indicate

  GU ER RA tO bethe beneficiarynam ed on thecreditunion account,w hich wasothem ise registered

  to G U ERRA 'Srelative.

         43.By way ofbackl ound,on orabout25 September2019,ConfederateA told OCEIthat

  ConfederateA hadbeenrecentlynamedthetçameer22jsic)ofcampaignthatcollect(sic)money
  from gblrothersandsistersfrom onlinefonu (sicla''ConfederateA statedthiswasduetothedeath
  ofkey ISIS personnelinçsgoverseaslocationsl.''ConfederateA wentontostateççyouknow jihad
  need gsie!moneyresourcesgin overseaslocationsl.''




  20Coinbaseisan onlineexchangeplatform whereuserscan buy, sellorotherwisetrarsferBitcoin digitalcurrency.
  21Bitcoinexchangeaccountsaretypicallyfundedviatraditionalbankaccokmts. Onceanexchangeaccountisfunded,
  userscan proceedtotransactinthe digitalcurrencyenvironment.
  22Based onmy training,ttem ir''isatitlegiven to M uslimsinhigh office,ormilitary command roles,andisaterm
  used forkey leadership roleswithinISIS asan organization.
Case 1:20-mj-03562-LMR Document 1 Entered on FLSD Docket 09/11/2020 Page 20 of 20




                                           CO NCLUSION

            44.     Forthe reasons stated herein,there is probable cause to find that JONATHAN

      GUERRA BLANCO,a/k/a t'A BU ZAHRA AL-A NDALUSI,''hasattem pted to provide m aterial

      supportand resourcesto ISIS,in violation ofTitle l8,United StatesCode,Section 23398.

                FURTHER AFFIANT SAY ETH N AU GHT



                                                                 w
                                                        Bryan .H ghes,S cialAgent
                                                        FederalBureau oflnvestigation


      Atlested to by theApplicantin accordancew ith the requirem entsofFed.R.Crim .P.4.1
      byFaceTimethis lotYay ofSeptember2020.



      H OM BLE LISETTE M .REID
      UNITED STATES M AGISTM TE JUDG E
      SOUTH ERN DISTRICT OF FLORIDA




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